                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI

    EMILY DACK, et al., individually and on behalf
    of others similarly situated,                  No. 4:20-cv-00615-RK

      Plaintiffs,

     vs.

    VOLKSWAGEN GROUP OF AMERICA, INC.,
    a New Jersey corporation, a/k/a VOLKSWAGEN
    OF AMERICA, INC; and VOLKSWAGEN, AG,
    a/k/a VOLKSWAGEN GROUP, a foreign
    corporation,

      Defendants.


PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT

           PLEASE TAKE NOTICE that at the Final Approval Hearing scheduled for 1:30 p.m.

on July 17, 2024, Plaintiffs will move to have the Court grant their unopposed motion seeking

entry of an order granting final approval to the Settlement Agreement.1

           PLEASE TAKE FURTHER NOTE that Plaintiffs will rely on the Memorandum of

Law submitted herewith, and other related materials in support of this motion.

           PLEASE TAKE FURTHER NOTE that Defendant does not oppose this motion.

Dated: June 27, 2024                          Respectfully Submitted,


                                              /s/ Bonner C. Walsh
                                              WALSH PLLC
                                              1561 Long Haul Road
                                              Grangeville, ID 83530
                                              (T): (541) 359-2827
                                              (F): (866) 503-8206


1
  Plaintiffs will also request at this hearing that the Court enter an order approving their motion
for attorneys’ fees, expenses, and incentive awards. A motion seeking that relief was filed on
May 28, 2024 (ECF No. 86).

                                         1
             Case 4:20-cv-00615-RK Document 117 Filed 06/27/24 Page 1 of 4
                           bonner@walshpllc.com

                           Tim E. Dollar MO # 33123
                           Dollar Burns & Becker, L.C.
                           1100 Main Street, Suite 2600
                           Kansas City, MO 64105
                           (T): (816) 876-2600
                           (F): (816) 221-8763
                           timd@dollar-law.com

                           Matthew D. Schelkopf
                           Joseph B. Kenney
                           Sauder Schelkopf LLC
                           555 Lancaster Ave.
                           Berwyn, PA 19312
                           (T): (610) 200-0581
                           (F): (610) 421-1326
                           mds@sstriallawyers.com
                           jbk@sstriallawyers.com

                           Adam R. Gonnelli
                           LAW OFFICE OF ADAM R. GONNELLI LLC
                           707 Alexander Road
                           Bldg. 2, Suite 208
                           Princeton, NJ, 08540
                           (T): (917) 541-7110
                           (F): (315) 446-7521
                           adam@arglawoffice.com

                           Russell D. Paul
                           Amey J. Park
                           Abigail J. Gertner
                           BERGER MONTAGUE PC
                           1818 Market Street
                           Suite 3600
                           Philadelphia, PA 19103
                           (T): (215) 875-3000
                           (F): (215) 875-4604
                           rpaul@bm.net
                           apark@bm.net
                           agertner@bm.net

                           Tarek H. Zohdy
                           Cody R. Padgett
                           Laura E. Goolsby
                           CAPSTONE LAW APC



                            2
Case 4:20-cv-00615-RK Document 117 Filed 06/27/24 Page 2 of 4
                           1875 Century Park East
                           Suite 1000
                           Los Angeles, California 90067
                           (T): (310) 556-4811
                           (F): (310) 943-0396
                           tarek.zohdy@capstonelawyers.com
                           cody.padgett@capstonelawyers.com
                           laura.goolsby@capstonelawyers.com

                           Alec Leslie
                           BURSOR & FISHER, P.A.
                           1330 Avenue of the Americas
                           New York, NY 10019
                           (T): (646) 837-7150
                           (F): (212) 989-9163
                           aleslie@bursor.com

                           Class Counsel




                            3
Case 4:20-cv-00615-RK Document 117 Filed 06/27/24 Page 3 of 4
                                 CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that a true and correct copy of the foregoing

PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT

was electronically filed on June 27, 2024, using the Court’s EC/CMF system, thereby

electronically serving it on all counsel of record.



                                               /s/ Bonner C. Walsh
                                               Bonner C. Walsh




                                      4
          Case 4:20-cv-00615-RK Document 117 Filed 06/27/24 Page 4 of 4
